                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 LIGURIA FOODS, INC.,
                Plaintiff,                               No. C14-3041-MWB
 vs.                                           ORDER RESETTING TRIAL, FINAL
                                                PRETRIAL CONFERENCE, AND
 GRIFFITH LABORATORIES, INC.,
                                               RESTATING REQUIREMENTS FOR
                Defendant.                        FINAL PRETRIAL ORDER
                                 ____________________
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        IT IS ORDERED:
        I.     TRIAL DATE: The jury trial in this matter, set for the two-week period
beginning September 26, 2016, is now scheduled to commence during the two-week period
beginning on the 20th day of February, 2017, at the U.S. Courthouse in Sioux City,
Iowa.
        II.    CONTINUANCE OF TRIAL DATE: Unless requested within 14 days after
the date of this order, no continuance of the trial date will be granted except for
exceptional cause.
        III.   TRIAL BY AGREEMENT: Within thirty (30) days of this order, each
lawyer who has appeared on behalf of any party, and within thirty (30) days of any other
lawyer appearing on behalf of any party, must file a short affidavit that they have read the
following article: Steve D. Susman and Thomas M. Melsheimer, Trial By Agreement: How
Trial Lawyers Hold the Key to Improving Jury Trials in Civil Cases, 32 REV. LITIG. 431
(2013). Each lawyer must also state in their affidavit whether or not they are willing to

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       NOTE: This form was revised on June 1, 2015. The parties are directed to
review the requirements of this order carefully, and to comply fully with those
requirements.


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make a good faith effort to apply the basic principles of this article and the concepts
contained        in    Pretrial      Agreements          Made       Easy,      found      at
http://trialbyagreement.com/pretrial-agreements/pretrial-agreements-made-easy/ to this
case. I respect the lawyers’ right not to follow these principles, but the failure to
timely file the affidavit will result in a $250.00 sanction. The money will go to the
court’s “Library Fund” and will be used for the benefit of the bar.
       IV.     HARD TIME LIMITS AND JUROR QUESTIONS: In every civil case in
which the parties estimate that the length of trial will exceed three (3) days including jury
selection, opening statements, and closing arguments, I will set hard time limits for the
case at the final pretrial conference. This will be done after reviewing the parties’ witness
and exhibit lists and discussing in depth with the lawyers how much time they believe they
need – keeping in mind I will not let them inflict cruel and usual punishment on the jurors
as a result of excessive, redundant, cumulative, or unnecessary evidence. The parties are
encouraged to agree on how much time will be needed and how it is divided. For
example, in a recent case, the parties agreed to a total of 28 hours with the plaintiff using
70% of the time. The time for each party includes their direct examination, cross
examination, and redirect of witnesses; time spent on objections and rulings on objections
in front of the jury; and other matters that take place while the jury is in the jury box
during the presentation of evidence in their case. Regular breaks for jurors are not
included in the parties’ time nor are matters taken up prior to the jury being brought into
the courtroom in the morning or after they are dismissed at the end of each trial day. The
time spent on juror questions of witnesses, See XI (B)(4), will be charged to the party
calling the witness, but any follow-up questions will be charged to the party doing the
questioning.



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       V.     INTERIM ARGUMENTS: Interim arguments will only be allowed if the
partes agree to the terms of interim arguments.
       VI.    JUROR DISCUSSION OF EVIDENCE BEFORE DELIBERATIONS: This
may or may not be allowed, in my discretion, with an appropriate jury instruction, but will
be allowed if the parties agree.
       VII. FINAL PRETRIAL CONFERENCE: The final pretrial conference (“FPTC”),
scheduled before United States Magistrate Judge Leonard T. Strand for September 13,
2016, at 3:00 p.m., will now be held on the 7th day of February, 2017, at 3:00 p.m. The
FPTC will be held in person at the U.S. Courthouse in Sioux City, Iowa, unless the parties
agree in advance to a telephonic FPTC and so notify Judge Strand at least 5 days before
the FPTC. If the FPTC is being held by telephone, the court will initiate the conference
call, but the parties must advise the court of the contact numbers for each party and
counsel who will participate in a telephonic FPTC at least 3 days before the FPTC.
       VIII. FINAL PRETRIAL ORDER: The parties are jointly responsible for the
preparation of the proposed Final Pretrial Order. Before the FPTC, pro se parties and
counsel for represented parties must prepare, agree upon, and sign a proposed Final
Pretrial Order prepared for Judge Strand’s signature in the format attached to this order.
The proposed order must not be filed, but must be e-mailed, in WordPerfect or MS Word
format, to Judge Strand (leonard_strand@iand.uscourts.gov) at least 5 days before the
FPTC. The parties’ exhibit lists, prepared as set forth below in this Order, must be
attached to the proposed Final Pretrial Order, with the entire order, including the exhibit
lists, constituting a single document.
       IX.    WITNESS AND EXHIBIT LISTS: Exhibit lists must be attached to, and
witness lists must be included as part of, the proposed Final Pretrial Order, in accordance
with the instructions in the attached form order. The parties are not required to list

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rebuttal witnesses or impeachment exhibits. Proposed witness and exhibit lists must be
exchanged by the parties (but not filed) at least 28 days before the FPTC. At the time the
parties exchange their exhibit lists, they also must give written notice to all adverse parties
of any intent to use a declaration under Federal Rules of Evidence 803(6), 902(11), or
902(12) to establish foundation for records of regularly-conducted activities, and
immediately thereafter they must make the records and the declaration available for
inspection.
       X.     EXHIBITS: Exhibits must be prepared for trial in accordance with the
following instructions:
               A. Marking of Exhibits. All exhibits must be marked by the parties before
       trial. Unless prior approval for a different exhibit identification system is obtained
       from Judge Strand, exhibits should be designated as follows: Plaintiff(s) will use
       numbers 1-999; defendant(s) will use numbers 1000-1999; joint exhibits will be
       numbered 2000-2999; and court’s exhibits will be numbered 3000-3999. Although
       a party’s exhibits must use numbers from the appropriate series, consecutive
       numbering of exhibits is not required, as pre-designated exhibits may be withdrawn
       for a number of reasons, or parties may wish to reserve part of their series of
       exhibit numbers for related exhibits, resulting in gaps. All exhibits longer than one
       page must contain page numbers at the bottom of each page. A group of exhibits
       of the same kind (such as pay stubs for several dates) may be given one exhibit
       number, with each sub-exhibit marked with the exhibit number and a lowercase
       letter (e.g., Exhibit 102(a), Exhibit 102(b), etc.). The parties should make every
       effort to use this numbering system for deposition exhibits as well, so that
       deposition exhibits will not need to be redesignated for trial.
              B. Elimination of Duplicates. The parties must compare their exhibits and
       eliminate duplicates. If more than one party wants to offer the same exhibit, then
       it must be marked and listed on the exhibit list as a joint exhibit using a number
       from the 2000 series. The duplicate exhibits in the parties’ separate series must be
       removed from the exhibit list.
              C. Exhibits referenced in deposition testimony. All references to exhibits
       in deposition testimony presented to the jury must, if practicable, correspond or be
       redacted to correspond to the trial designations of those exhibits. Therefore, the

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 parties should make every effort to use the trial exhibit numbering system for
 deposition exhibits from the start. If good cause is shown, instead of redacting
 non-corresponding deposition exhibit designations, Judge Strand may allow the
 parties to submit cross-reference charts for deposition exhibits not numbered in the
 same way as trial exhibits. One such chart must list exhibits by deposition
 designations and indicate their trial designations, and one such chart must list
 exhibits by trial designations and indicate the deposition designations.
         D. Listing of Exhibits and Objections. The parties must list each exhibit
 separately in the exhibit lists, although a group of exhibits of the same kind (e.g.,
 a series of pay stubs) may be listed under one exhibit number with sub-exhibits
 identified by lower case letter, as explained in paragraph A. Objections must be
 indicated in the manner shown in the attached Exhibit List Form, citing the
 pertinent Federal Rules of Evidence and identify the category of the objection (A,
 B, or C). If a party objects to only part or parts of an exhibit, but not to other
 parts, the offering party must prepare separate versions of the exhibit, one that
 includes the parts to which objections are made and the other that redacts those
 parts.
        E. Copies for the Court. The parties must bring to the FPTC trial
 notebooks containing copies of all exhibits to be used at trial. The court’s copies
 of exhibits must be placed in a ringed binder with a copy of the exhibit list at the
 front and with each exhibit tabbed and labeled. The parties must supply the Clerk
 of Court with a second set of exhibits, also tabbed and labeled in a ringed binder,
 to be used as the original trial exhibits in the official records of the court.
       F. Electronic filing of Exhibits. All exhibits are to be filed electronically
 in accordance with Public Administrative Order 09-AO-03-P, filed May 29,
 2009.

 XI.    PRETRIAL SUBMISSIONS:
        A. Trial Briefs. If the trial of the case will involve significant issues not
 adequately addressed by the parties in connection with dispositive motions or other
 pretrial motions, the parties must prepare trial briefs addressing such issues. Trial
 briefs must be filed 5 days before the FPTC, and a copy must be served on any
 non-ECF counsel and pro se parties in the case.
        B. Other Pretrial Submissions. 5 days before the FPTC, the parties must
 electronically file the following: (1) joint proposed jury instructions, (2) joint

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 proposed jury statement, (3) proposed verdict forms, (4) any requested voir dire
 questions, and (5) any requested special interrogatories.
         The joint requested jury instructions, joint proposed jury statement, and any
 requested voir dire questions must be prepared and submitted in accordance with
 the following instructions:
               1. Jury Instructions: It is my practice to provide each juror with a
        complete written set of final instructions in plain English, with a table of
        contents, prior to opening statements. I reserve reading only the instruction
        on Deliberations until after closing arguments, just prior to the jury retiring
        to consider its verdict. The parties’ assistance with the preparation of
        these Jury Instructions is mandatory, and failure to submit proposals or
        objections as indicated in this Order will be deemed waiver of such
        proposals or objections. To aid the parties in meeting their obligation to
        assist with the preparation of Jury Instructions, instructions used in prior
        cases, including case-specific and stock instructions, can be viewed on the
        court’s website at www.iand.uscourts.gov. Jury instructions must be
        prepared and submitted in accordance with the following instructions:
                      a. At least 21 days before the FPTC, the parties must serve
               on each other (but not file) proposed jury instructions. In addition,
               because counsel for the plaintiff(s) ultimately will be responsible for
               compiling a unified set of instructions for me, counsel for the
               defendant(s) must provide counsel for the plaintiff(s) with the
               proposed instructions of the defendant(s), in word processing format,
               via e-mail or on a CD.
                      b. At least 14 days before the FPTC, counsel for the parties
               must consult, either personally or by telephone, and attempt to work
               out any differences in their proposed jury instructions.
                       c. Counsel for the plaintiff(s) must then organize the proposed
               jury instructions into one document, prefaced by a table of contents.
               Agreed instructions should be indicated with a footnote to the title of
               each such instruction. Differing instructions on the same subject
               matter (such as an “elements” instruction) proposed by opposing
               parties must be presented in a single instruction with agreed language
               shown in plain text, disputed language shown in brackets and bold
               text, and a footnote indicating the offering party, the authority for the

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             proffered language, the opposing party’s objection (including whether
             the objection is to giving the Jury Instruction, or to the language of
             the Jury Instruction, or to both), and the authority for the objection.
             If only one party proffers a Jury Instruction on a particular topic, then
             the parties are required to indicate in a footnote to the title of that
             Jury Instruction who is the offering party, the supporting authority for
             the instruction, the opposing party’s objection(s), and the supporting
             authority for the objection(s).
                   d. Each instruction must treat a single subject and must be
             numbered individually, on a separate sheet of paper, and double-
             spaced.
                    e. The parties must cite authority (decisions, statutes,
             regulations, model or pattern Jury Instructions, or Jury Instructions
             used in prior cases) for each of their proffered Jury Instructions,
             including agreed Jury Instructions, and any objections to a Jury
             Instruction proposed by an opposing party. Each objection must
             include whether the objection is to giving the Jury Instruction, or to
             specific, identified language of the Jury Instruction, or to both.
                     f. Unmodified model Jury Instructions from the 8th Circuit
             Model Civil Jury Instructions or the Iowa Model Civil Jury
             Instructions may be requested by reference to the edition and model
             Jury Instruction number. Model or pattern Jury Instructions from
             other sources must be requested in full text with citations to the
             sources. The parties should only propose unmodified model or
             pattern Jury Instructions to the extent that my standard Jury
             Instructions do not address the topic at issue or are inadequate or
             inappropriate in this case. Model Jury Instructions will only be used
             if they are translated into plain English.
                     g. Instructions not requested as set forth above will be deemed
             waived unless the subject of the instruction is one arising in the
             course of trial that reasonably could not have been anticipated before
             trial from the pleadings, discovery, or nature of the case.
             2. Jury Statement: I will read a jury statement to the jury panel
       before voir dire so that the members of the panel will be able to give
       meaningful responses to voir dire questions. The parties must provide a

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              proposed jury statement. The jury statement is intended to and should
              identify the parties, provide some factual background, and provide a short,
              plain statement of the parties’ claims and defenses. It is not intended to and
              should not contain any preview of the parties’ arguments. Therefore, there
              should be no reason for heated disputes between the parties concerning the
              contents of the jury statement. To the extent that the parties are unable to
              agree on the language of the entire jury statement, they should indicate the
              agreed portions in plain text, with disputed portions shown in brackets and
              bold text, with a footnote identifying the offering party, the basis for the
              proffered statement, the objecting party and the basis for the objection.
                     3. Requested Voir Dire Questions: The parties may request that I
              ask voir dire questions specific to this case. The parties also will be
              permitted to conduct their own voir dire in the manner set out in the attached
              voir dire instructions.

                      4. Juror Questions: I allow the jurors to write down questions during
              trial. At the conclusion of the examination of each witness, the questions are
              collected. The questions are then reviewed by me and counsel at side bar
              and, if approved, asked by me with follow-up questions, if any, by counsel.
              The counsel that called the witness begins the questioning.


       XII.   DEMONSTRATIVE AIDS: A party using a demonstrative aid during a jury
trial must, before the demonstrative aid is displayed to the jury, show the demonstrative
aid to representatives of all other parties participating in the trial.              The term
“demonstrative aid” includes charts, diagrams, models, samples, and animations, but does
not include exhibits admitted into evidence, or outlines of opening statements or closing
arguments.
       XIII. PROTOCOL FOR WITNESSES: An attorney who may call a witness to
testify at trial must, before the witness testifies, advise the witness of the accepted protocol
for witnesses testifying in this court. This advice should include the following information:
(A) the location of the witness box; (B) the proper route from the courtroom door to the


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witness box; (C) the fact that the witness will be placed under oath; (D) where the witness
should stand while the oath is being administered; (E) that the witness should adjust the
witness chair and the microphone so the microphone is close to and directly in front of the
witness’s mouth; (F) that the witness should speak only in response to a question; (G) that
the witness should wait for a ruling on any objections before proceeding to answer a
question; (H) that the witness should answer all questions verbally; and (I) that substances
such as food, beverages, and chewing gum should not be brought into the courtroom.
       Attorneys also must advise their clients and witnesses of proper dress for the
courtroom. Proper dress does not include shorts, overalls, T-shirts, shirts with printed
words or phrases on the front or back, tank tops, or the like. The testimony of any witness
who appears in court in the presence of the jury in attire prohibited by this section may be
barred.
       XIV. RESTRICTIONS ON WITNESSES:
              A. Exclusion of Witnesses. A witness who may testify at the trial or at an
       evidentiary hearing must not be permitted to hear the testimony of any other
       witnesses before testifying, and is excluded from the courtroom during the trial or
       hearing until after the witness has completed his or her testimony, unless exclusion
       of the witness is not authorized by Federal Rule of Evidence 615 or unless I order
       otherwise. A witness who is excluded from the courtroom pursuant to this
       paragraph also is prohibited from reviewing a verbatim record of the testimony of
       other witnesses at the trial or hearing until after the witness has completed his or her
       testimony at the trial or evidentiary hearing, unless I order otherwise.
             B. Restrictions on Communications with Witnesses. Unless I order
       otherwise, after the commencement of the trial or an evidentiary hearing and until
       the conclusion of the trial or hearing, a witness who may testify at the trial or
       hearing is prohibited from communicating with anyone about what has occurred in

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        A map displaying this route is attached to this order. A copy of this map should
be provided to each witness who is unfamiliar with the layout of the courtroom by the
attorney calling the witness to testify.

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       the courtroom during the trial or hearing. If the witness does testify at the trial or
       hearing, after the witness is tendered for cross-examination and until the conclusion
       of the witness’s testimony, the witness is prohibited from communicating with
       anyone about the subject matter of the witness’s testimony. A witness may,
       however, communicate with his or her attorney about matters of privilege, and may
       communicate with anyone if the right to do so is guaranteed by the United States
       Constitution.
              C. Parties. The restrictions on witnesses in paragraphs (A) and (B) of this
       section do not apply to the parties.
               D. Uniformed Witnesses. No person who testifies at trial, and no party,
       may appear in court in the presence of the jury wearing a uniform. All witnesses
       and parties must, at all times while in the presence of the jury, wear appropriate
       civilian clothing that does not identify the person as a representative of any agency,
       group, or organization. The testimony of any witness or party appearing in court
       before a jury in attire prohibited by this order may be barred.
               E. Duties of Counsel. An attorney who may call a witness to testify at the
       trial or evidentiary hearing must, before the trial or hearing, advise the witness of
       the restrictions in this section.
       XV.    TESTIMONY BY DEPOSITION: With respect to any witness who will
testify by deposition, at least 28 days before trial, the party intending to offer the witness
must serve on the opposing parties a written designation, by page and line number, of
those portions of the deposition the offering party intends to have read into evidence. At
least 21 days before trial, any opposing party who objects to the intended testimony must
serve on the offering party any objections to the designated testimony and a counter-
designation, by page and line number, of any additional portions of the deposition which
the opposing party intends to have read into evidence. At least 14 days before trial, the
party offering the witness must serve upon the opposing parties any objections to the
counter-designated testimony and a written designation, by page and line number, of any
additional portions of the deposition the offering party intends to have read into evidence.


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At least 10 days before trial, the parties must consult, either personally or by telephone,
and attempt to work out any objections to the proposed deposition testimony.
       At least 7 days before trial, the party intending to offer the deposition testimony
must provide me with a copy of the deposition, with the parts of the deposition to be read
to the jury clearly indicated on the deposition, together with a statement listing all
unresolved objections. I will review any objections, listen to any arguments, and make any
necessary rulings outside the presence of the jury to permit a “clean read” of the
deposition to the jury. I expect the parties to edit any video deposition accordingly.
       All references in depositions to exhibit numbers must correspond to the exhibit
numbers used at trial, as discussed in paragraph VI.A of this Order.
       XVI. MOTIONS IN LIMINE: The parties are required to notify me by motion
in limine or by motion under Federal Rule of Evidence 104(a) of any novel, unusual, or
complex legal, factual, or procedural issues reasonably anticipated to arise at trial. All
such motions must be served and filed at least 28 days before the FPTC.
       XVII. OPENING STATEMENTS; CLOSING ARGUMENTS: Opening statements
are limited to 30 minutes and closing arguments are limited to one hour. A request for
additional time for opening statements or closing arguments must be made no later
than the commencement of trial.
       XVIII. SETTLEMENT CONFERENCE:                    Any party desiring a settlement
conference should contact Judge Strand in Sioux City, Iowa, 712/233-3921, at the earliest
opportunity. Such contact may be ex parte for the sole purpose of requesting a settlement
conference. A settlement conference will be scheduled with a judge who will not be
involved in trying the case.
       XIX. SETTLEMENT DEADLINE: I hereby impose a settlement deadline of 5:00
p.m., 7 days before the first scheduled day of trial. If the case is settled after that date,

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I may enter an order to show cause why costs and sanctions should not be imposed on the
party or parties causing the delay in settlement.
       IT IS SO ORDERED.
       DATED this 11th day of September, 2015.


                                                    __________________________________
                                                    MARK W. BENNETT
                                                    U. S. DISTRICT COURT JUDGE
                                                    NORTHERN DISTRICT OF IOWA




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                 JUDGE BENNETT’S VOIR DIRE INSTRUCTIONS

       The following are Judge Bennett’s jury selection procedures.
       1.     Approximately 30 randomly-selected potential jurors will be notified to
appear at the courthouse at 8:30 a.m. on the first day of trial. About a week before trial,
the attorneys will receive from the Clerk of Court a list of the potential jurors, together
with copies of their juror questionnaires. The attorneys also will receive a list of the first
14 potential jurors in the order in which they were randomly drawn. The court will be
provided with a separate list of all of the potential jurors in the order in which they were
randomly drawn.
       2.     The first 14 preselected potential jurors who appear for jury selection will
                                    *
be seated in order in the jury box, and will be the potential jurors first considered for
empanelment on the jury.
       3.     At 9:00 a.m., the Clerk of Court will open court.
      4.     Judge Bennett will greet the jury, counsel, and the parties; announce the
name of the case to be tried; and ask counsel if they are ready to proceed.
       5.     Judge Bennett will swear in the entire jury panel.
       6.     Judge Bennett will make some introductory remarks to the jury about the jury
selection process.
      7.     Judge Bennett will ask the entire jury panel if they are aware of any
circumstance that might prevent their service on the jury, and may excuse anyone for
whom he believes jury service would be an undue burden.
      8.      Judge Bennett will make some brief opening remarks, and will read a
statement of the case.
       9.      Judge Bennett will introduce the courtroom staff. He then will ask the
attorneys to identify themselves, the members of their firm, their clients, and the witnesses
they expect to call at trial.
       10. Judge Bennett will engage the potential jurors in the jury box in an extensive
voir dire, utilizing PowerPoint presentation software to display his questions on the


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        If any of the first 14 preselected potential jurors do not appear for jury selection
or are excused from jury service after arriving at the courthouse, that potential juror will
be replaced with the next potential juror on the judge’s list of preselected potential jurors,
and the attorneys will be provided with an updated list.


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presentation equipment in the courtroom. This voir dire may include questions for the
panel requested by a party who has served and filed a timely pretrial request for voir dire.
       11. After Judge Bennett has completed his questions, each side will be permitted
to conduct up to one-half hour of jury voir dire. A request for additional time for attorney
voir dire because of the complexity or unusual nature of a case, or in multi-party cases,
should be made at the FPTC.
       12. The parties will be permitted to challenge any potential juror for cause.
These challenges may be made at the side-bar. If a potential juror is excused for cause,
he or she will be replaced by the next potential juror on the jury list, who then will
undergo the same questioning as the other potential jurors. There will be 14 potential
jurors remaining in the jury box at the conclusion of voir dire.
       13. The Clerk of Court will give counsel for the plaintiff(s) a list of the names
of the 14 remaining potential jurors. Counsel for the plaintiff(s) is/are to strike one of the
names by noting in the margin “B’s first peremptory challenge,” and then state aloud,
“Exercised.” The Clerk of Court then will take the list and hand it to counsel for the
defendant(s), who is/are to strike one of the names by noting in the margin “)’s first
peremptory challenge,” and then state aloud, “Exercised.” This procedure will be
repeated until the plaintiff(s) and defendant(s) each have exercised 3 peremptory
challenges, and 8 jurors remain in the jury box.
      14. The names of the 8 remaining jurors will be announced by the Clerk of
Court. Those persons will be placed in the jury box and will constitute the jury in the
case. The rest of the panel will be excused.
       15.    Judge Bennett will swear in the jury.
       16. THERE ARE NO ALTERNATE JURORS. ANY VERDICT MUST BE
UNANIMOUS. During trial, if any of the 8 jurors has to be excused from jury service
for any reason, the case can be decided by as few as 6 jurors.
      17. Upon stipulation of the parties, the verdict can be less than unanimous or
decided by fewer than 6 jurors, or both.
       18. Upon the request of any party, Judge Bennett will consider modifying jury
selection procedures in a particular case. Such modifications may include, but are not
limited to, a twelve-person jury or an increase in lawyer participation in voir dire.




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     MAP OF THE THIRD-FLOOR COURTROOM
     FEDERAL BUILDING, SIOUX CITY, IOWA




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                       UNITED STATES DISTRICT COURT
                 IN AND FOR THE NORTHERN DISTRICT OF IOWA
                             ___________ DIVISION


[INSERT PARTIES AND CASE NUMBER]

                                                           FINAL PRETRIAL ORDER
                                                                 [PROPOSED]

[NOTE: Instructions for preparing this form appear in brackets and should not be
reproduced in the proposed Final Pretrial Order. All material not appearing in brackets
should be reproduced in the proposed Final Pretrial Order, as applicable.]

       This final pretrial order was entered after a final pretrial conference held on [date].
The court expects the parties to comply fully with this order. [Full compliance with the
order will assist the parties in preparation for trial, shorten the length of trial, and improve
the quality of the trial. Full compliance with this order also will help “secure the just,
speedy, and inexpensive determination” of the case. Fed. R. Civ. P. 1.]
       The following counsel, who will try the case, appeared at the conference [Except
in the case of attorneys at the same firm, list each attorney’s information separately.
Include an e-mail address for each attorney who will try the case.]:
       1.     For plaintiff(s):
              Name(s)
              Street Number, Street Name and/or Box Number
              City, State and Zip Code
              Phone Number [include area code]
              Facsimile Number [include area code]
              E-mail address

       2.     For defendant(s):
              Name(s)
              Street Number, Street Name and/or Box Number
              City, State and Zip Code
              Phone Number [include area code]
              Facsimile Number [include area code]
              E-mail address



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I.      STIPULATIONS OF FACT: The parties agree that the following facts are true
and undisputed: [The parties are to recite all material facts as to which there is no
dispute. Special consideration should be given to such things, for example, as life and
work expectancy, medical and hospital bills, funeral expenses, cause of death, lost wages,
back pay, the economic value of fringe benefits, and property damage. The parties should
stipulate to an undisputed fact even if the legal relevance of the stipulated fact is questioned
by one or more party, but in such instances the stipulated fact should be followed by an
identification of the objecting party and the objection (e.g. “Plaintiff objects to
relevance.”)]
              A.
              B.

II.    EXHIBIT LIST: The parties’ exhibit lists are attached to this Order. [The parties
are to attach to this order (not include in the body of the order) exhibit lists that include
all exhibits (except for impeachment exhibits) each party intends to offer into evidence at
trial. Exhibit lists are to be prepared in the attached format, indicating objections using
the categories described in the form.

       All exhibits are to be made available to opposing counsel for inspection at least
28 days before the date of the FPTC. Failure to provide an exhibit for inspection
constitutes a valid ground for objection to the exhibit, and should be noted on the exhibit
list. Any exhibit not listed on the attached exhibit list is subject to exclusion at trial. The
court may deem any objection not stated on the attached exhibit list as waived.

        The parties must bring to the Final Pretrial Conference trial notebooks containing
copies of all exhibits to be used at trial. The court’s copies of exhibits should be placed
in a ringed binder with a copy of the exhibit list at the front and with each exhibit tabbed.
The parties must supply the Clerk of Court with a second set of exhibits, also tabbed and
in a ringed binder, to be used as the original trial exhibits in the official records of the
court.]

III. WITNESS LIST: The parties intend to call the following witnesses at trial: [Each
party must prepare a witness list, in the following format, that includes all witnesses
(except for rebuttal witnesses) the party intends to call to testify at trial. The parties are




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to exchange their separate witness lists at least 21 days before the date of the FPTC. A
witness testifying by deposition must be listed in the witness list with a designation that the
testimony will be by deposition.]

       A.     Plaintiff(’s)(s’) witnesses [list name, substance of testimony, whether any
              party objects to the witness, and the nature of and grounds for any
              objection]:
              1.
              2.

       B.     Defendant(’s(s’)) witnesses [list name, substance of testimony, whether any
              party objects to the witness, and the nature of and grounds for any
              objection]:
              1.
              2.
      All parties are free to call any witness listed by an opposing party. A party listing
a witness guarantees his or her presence at trial unless it is indicated otherwise on the
witness list. Any objection to the offer of testimony from a witness on the witness list is
waived if it is not stated on this list.

        IV. RESTRICTIONS ON WITNESSES: A witness who may testify at the trial
or at an evidentiary hearing must not be permitted to hear the testimony of any other
witnesses before testifying, and is excluded from the courtroom during the trial or hearing
until after the witness has completed his or her testimony, unless exclusion of the witness
is not authorized by Federal Rule of Evidence 615 or unless the court orders otherwise.
A witness who is excluded from the courtroom pursuant to this paragraph also is prohibited
from reviewing a verbatim record of the testimony of other witnesses at the trial or hearing
until after the witness has completed his or her testimony at the trial or evidentiary
hearing, unless the court orders otherwise.

        Unless the court orders otherwise, after the commencement of the trial or an
evidentiary hearing and until the conclusion of the trial or hearing, a witness who may
testify at the trial or hearing is prohibited from communicating with anyone about what has
occurred in the courtroom during the trial or hearing. If the witness does testify at the trial
or hearing, after the witness is tendered for cross-examination and until the conclusion of
the witness’s testimony, the witness is prohibited from communicating with anyone about
the subject matter of the witness’s testimony. A witness may, however, communicate with
his or her attorney about matters of privilege, and may communicate with anyone if the
right to do so is guaranteed by the United States Constitution.

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        These prohibitions do not apply to the parties. An attorney who may call a witness
to testify at trial must, before the trial, advise the witness of these restrictions.

V.     EVIDENTIARY AND OTHER LEGAL ISSUES:

       A.     Plaintiff(‘s)(s’) Issues:

              1.
              2.

       B.     Defendant(‘s)(s’) Issues:

              1.
              2.

[The parties must list all unusual evidentiary and legal issues that are likely to arise at
trial, including such things as disputes concerning the admissibility of evidence or
testimony under the Federal Rules of Evidence; the elements of a cause of action; whether
recovery is barred as a matter of law by a particular defense; disputes concerning the
measure, elements, or recovery of damages; and whether the Statute of Frauds or the Parol
Evidence Rule will be raised. The purpose of this listing of issues is to advise the court in
advance of issues and problems that might arise at trial.]

VI. COURTROOM TECHNOLOGY: Prior to trial, attorneys and witnesses who
intend to utilize the technology available in the courtroom must familiarize themselves with
the proper manner of operation of the equipment. Instruction and training on the proper
use of the equipment may be obtained at a training session set up by prior appointment
with Amanda Hughes, who may be contacted at 712-233-3845.

VII. OPENING STATEMENTS; CLOSING ARGUMENTS: Opening statements are
limited to 30 minutes and closing arguments are limited to one hour. A request for
additional time for opening statements or closing arguments must be made no later
than the commencement of trial.

VIII. PROTOCOL FOR WITNESSES: An attorney who may call a witness to testify
at trial must, before the witness testifies, advise the witness of the accepted protocol for
witnesses testifying in this court. This advice should include the following information:
(A) the location of the witness box; (B) the proper route from the courtroom door to the
witness box; (C) the fact that the witness will be placed under oath; (D) where the witness


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should stand while the oath is being administered; (E) that the witness should adjust the
witness chair and the microphone so the microphone is close to and directly in front of the
witness’s mouth; (F) that the witness should speak only in response to a question; (G) that
the witness should wait for a ruling on any objections before proceeding to answer a
question; (H) that the witness should answer all questions verbally; and (I) that substances
such as food, beverages, and chewing gum should not be brought into the courtroom.

       Attorneys also must advise their clients and witnesses of proper dress for the
courtroom. Proper dress does not include shorts, overalls, T-shirts, shirts with printed
words or phrases on the front or back, tank tops, or the like. The testimony of any witness
who appears in court in the presence of the jury in attire prohibited by this section may be
barred.

IX. DEMONSTRATIVE AIDS: A party using a demonstrative aid during a jury trial
must, before the demonstrative aid is displayed to the jury, show the demonstrative aid to
representatives of all other parties participating in the trial. The term “demonstrative aid”
includes charts, diagrams, models, samples, and animations, but does not include exhibits
admitted into evidence or outlines of opening statements or closing arguments.


       IT IS SO ORDERED.
       DATED this _____ day of ___________________, 20____.


                                   _____________________________________________
                                   LEONARD T. STRAND
                                   MAGISTRATE JUDGE
                                   UNITED STATES DISTRICT COURT




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 (PLAINTIFF’S) (PLAINTIFFS’) (DEFENDANT’S) (DEFENDANTS’) EXHIBIT LIST
                                         [Form]

      The following categories have been used for objections to exhibits:

      A.      Category A. These exhibits already will be in evidence at the commence-
              ment of the trial, and will be available for use by any party at any stage of
              the proceedings without further offer, proof, or objection.

      B.      Category B. These exhibits are objected to on grounds other than
              foundation, identification, or authenticity. This category has been used for
              objections such as hearsay or relevance.

      C.      Category C. These exhibits are objected to on grounds of foundation,
              identification, or authenticity. This category has not been used for other
              grounds, such as hearsay or relevance.


      (Plaintiff’s)(Plaintiffs’)              Objections        Category             Admit/Not
                                         [Cite Fed. R. Evid.]   A, B, C    Offered    Admitted
    (Defendant’s)(Defendants’)                                                       (A) - (NA)
              Exhibits

 1. [describe exhibit]                                                                   *
 2. [describe exhibit]

 3. [describe exhibit]

 4. [describe exhibit]

 5. [describe exhibit]

[*This column is for use by the trial judge at trial. Nothing should be entered in this
column by the parties.]




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